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EXHIBIT

From: Timothy Mellon <panam.captain@yahoo.com>
Subject: Inconvenient Postulation
Date: January 6, 2013 11:52:52 AM EST
To: Jeff Glickman <jeff@glickman.com>
Ce: — Ric Gillespie <tigharic@me.com>, Kermit
<kbrown@wyoatty.com>
Reply-To: — Timothy Mellon <panam.captain@yahoo.com>

Jeff, sorry to disturb you on the weekend. I have concluded from what I see here that two people,
probably Fred Noonan on the left and Amelia Earhart on the right, have taken their own lives by
placing what I believe to be celophane bags over their heads. As suicide was probably a felony in
British territory at the time (1937), you may want to consider what steps might be appropriate
under the circumstances.

Tim

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DEPOSITION —
EXHIBIT

From: . Timothy Mellon <panam.captain@yahoo.com>
Subject: Stamp Collection
Date: February 18, 2013 9:16:14 PM EST
To: Ric Gillespie <tigharic@me.com>
Reply-To: Timothy Mellon <panam.captain@yahoo.com>

Ric, this evening I found a truly remarkable collection of stamps on letters aggregated in what
appears to be cellophane bags just North of the HF antenna where it ends in the "hook". I hope
you will pass this on to Jeff Glickman, as I believe that ancillary items carried in the aircraft are
just as important as aircraft parts themselves when it comes to verifying the final destination of
NR16020. I am no stamp collector, but I think I know when I've come across a philatelic wet
dream.

Tim

